              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 1 of 20 Page ID #:766



                      1   ++JEFFREY A. ROSENFELD (Bar No. 136896)
                          jeffrey.rosenfeld@dlapiper.com
                      2   RACHEL E. K. LOWE (Bar No. 246361)
                          rachel.lowe@dlapiper.com
                      3   MONICA D. SCOTT (Bar No. 268109)
                          monica.scott@dlapiper.com
                      4   SEAN R. CRAIN (Bar No. 291515)
                          sean.crain@dlapiper.com
                      5   DLA PIPER LLP (US)
                          2000 Avenue of the Stars
                      6   Suite 400, North Tower
                          Los Angeles, CA 90067
                      7   Telephone: (310) 595-3000
                          Facsimile: (310) 595-3300
                      8
                          Attorneys for Defendant
                      9   ZICO BEVERAGES LLC
                     10
                     11                               UNITED STATES DISTRICT COURT
                     12          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
                     13
                     14   CARLOS BARRIOS, individually, and            CASE NO. 2:17-cv-01712-FMO (KSx)
                          on behalf of a class of similarly situated
                     15   individuals,                                 DEFENDANT ZICO BEVERAGES
                                                                       LLC’S REPLY IN SUPPORT OF
                     16                      Plaintiff,                MOTION TO DISMISS FIRST
                                                                       AMENDED COMPLAINT OR, IN
                     17           v.                                   THE ALTERNATIVE, STAY
                     18   ZICO BEVERAGES LLC, a Delaware               Hearing
                          limited liability company,                   Date:   June 29, 2017
                     19                                                Time:   10:00 a.m.
                                             Defendant.
                     20                                                Dept.:  First Street Courthouse;
                                                                               Courtroom 6D
                     21
                     22                                                Complaint Filed:    March 2, 2017
                                                                       FAC Filed:          May 17, 2017
                     23
                     24
                     25
                     26
                     27
                     28
DLA P IPER LLP (US)       EAST\144618735.1
    LOS A NG EL ES
                            REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                     FIRST AMENDED COMPLAINT
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 2 of 20 Page ID #:767



                      1                                         TABLE OF CONTENTS
                      2
                                                                                                                                    Page
                      3   I.     INTRODUCTION ........................................................................................... 1
                      4   II.    PLAINTIFF’S CLAIMS FAIL UNDER RULE 12(B)(6) .............................. 2
                      5          A.       The Opposition Admits Plaintiff’s Claims Based On
                                          § 101.60(c)(2)(i) Are Deficient ............................................................. 3
                      6
                                 B.       The Opposition Cannot and Does Not Cure Plaintiff’s Claims
                      7                   Based Upon Alleged Violations of § 101.60(c)(2)(iv) ......................... 3
                      8                   1.       Plaintiff’s Reliance on Rahman v. Mott’s and Park v.
                                                   Knudson and Sons Is Misplaced................................................. 3
                      9
                                          2.       Plaintiff’s “Plausibly Alleged” Arguments Also Fail ................ 5
                     10
                          III.   PLAINTIFF’S “RESEMBLE AND SUBSTITUTE” THEORY IS
                     11          PREEMPTED .................................................................................................. 7
                     12          A.       Plaintiff’s “Interpretation” of “Resembles” and “Substitute” Has
                                          No Support ............................................................................................ 7
                     13
                                 B.       Plaintiff’s Inspection Guide, Statutory Interpretation, and
                     14                   Exemption Arguments Also Fail .......................................................... 8
                     15   IV.    PLAINTIFF’S CLAIMS FAIL UNDER RULE 9(B)................................... 11
                     16   V.     PLAINTIFF LACKS STATUTORY STANDING ...................................... 13
                     17   VI.    IN THE ALTERNATIVE, THE COURT SHOULD ISSUE A STAY ........ 14
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
DLA P IPER LLP (US)
                                                                                   -i-
    LOS A NG EL ES
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 3 of 20 Page ID #:768



                      1                                        TABLE OF AUTHORITIES
                      2
                                                                                                                                         Page
                      3   FEDERAL CASES
                      4   Bell Atlantic Corp. v. Twombly,
                      5      550 U.S. 544 (2007) ............................................................................................. 6
                      6   Bruton v. Gerber Products Company,
                      7      --- Fed. Appx. ---, No. 15-15174, 2017 WL 1396221
                             (9th Cir. Apr. 19, 2017) .......................................................................... 11, 12, 13
                      8
                          Gustavson v. Mars, Inc.,
                      9
                            No. 13–cv–04537–LHK, 2014 WL 6986421 (N.D. Cal. Dec. 10, 2014) .......... 15
                     10
                          Peviani v. Hostess Brands, Inc.,
                     11      750 F. Supp. 2d 1111 (C.D. Cal. 2010) ................................................................ 9
                     12
                          Rahman v. Mott’s LLP,
                     13     No. CV-13-3482 SI, 2014 WL 325241 (N.D. Cal. Jan. 29, 2014).............. passim
                     14   Rahman v. Mott’s LLP,
                     15     No. CV-13-3482 SI, 2014 WL 5282106 (N.D. Cal. Oct. 15. 2014) .................. 14

                     16   Rahman v. Mott’s LLP,
                            No. CV-13-3482 SI, 2014 WL 1379655 (N.D. Cal. Apr. 8, 2014)................ 2, 14
                     17
                     18   Russello v. United States,
                            464 U.S. 16 (1983) ............................................................................................. 10
                     19
                          Trazo v. Nestle USA, Inc.,
                     20
                             No. 5:12-cv-2272, PSG 2013 WL 4083218 (N.D. Cal. Aug. 9, 2013) .............. 13
                     21
                          Viggiano v. Hansen Natural Corp.,
                     22      944 F. Supp. 2d 977 (C.D. Cal. 2013) ................................................................ 13
                     23
                          STATE CASES
                     24
                          In re Tobacco II,
                     25       46 Cal. 4th 298 (2009) ........................................................................................ 14
                     26
                          Park v. Knudson and Sons, Inc.
                     27     No. CV-14-7845-DMG (C.D. Cal. Sept. 25, 2015) ..................................... 3, 4, 5
                     28
DLA P IPER LLP (US)
                                                                                   -i-
    LOS A NG EL ES
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 4 of 20 Page ID #:769



                      1                                         TABLE OF AUTHORITIES
                      2                                               (continued)
                                                                                                                                             Page
                      3   FEDERAL RULES
                      4   Fed. R. Civ. P. 9(b) .................................................................................. 2, 11, 12, 13
                      5
                          Fed. R. Civ. P. 12(b)(6) ............................................................................................. 2
                      6
                          FEDERAL REGULATIONS
                      7
                      8   21 C.F.R. § 101.13 ............................................................................... 1, 9, 10, 12, 13

                      9   21 C.F.R. § 101.30 ..................................................................................................... 6
                     10   21 C.F.R. § 101.60 ............................................................................................ passim
                     11
                          21 C.F.R. § 101.9 ..................................................................................................... 10
                     12
                          58 Fed. Reg. at 2327 ............................................................................................ 8, 11
                     13
                          58 Fed. Reg. at 2336 .............................................................................................. 7, 8
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
DLA P IPER LLP (US)
                                                                                     -ii-
    LOS A NG EL ES
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 5 of 20 Page ID #:770



                      1   I.       INTRODUCTION
                      2            Plaintiff’s Opposition does not save his fatally flawed mislabeling theory,
                      3   namely that 100% coconut water with no sugar added cannot be labeled “No Sugar
                      4   Added.”
                      5            Plaintiff asserts this case “squarely presents one of the most important food
                      6   labeling questions pending before California’s District and State Courts . . . [,]
                      7   whether [21 C.F.R. § 101.60(c)(2)(iv)] applies to fruit juices.” (ECF 29, 1:1-10.)
                      8   This question, however, has already been answered by the FDA: Yes. As Plaintiff
                      9   admits on the very first page of the Opposition, the FDA considers coconut water a
                     10   fruit juice. (ECF 29, 1:25-28.) The “No Sugar Added” claim at issue here is
                     11   explicitly permitted under 21 C.F.R. § 101.60(c)(2)(iv) (allowing “No Sugar
                     12   Added” claim where “[t]he food that it resembles and for which it substitutes
                     13   normally contains added sugars.”). Per the FDA, juices “resemble[] and substitute
                     14   []” for other juices. See 21 C.F.R. § 101.13(d); ECF 23-6 at p. 13. Simply put, the
                     15   “No Sugar Added” claim on the ZICO Coconut Water label complies with 21
                     16   C.F.R. § 101.60(c)(2)(iv) because ZICO Coconut Water “resembles” and
                     17   “substitutes” for other products that normally contain added sugar, namely other
                     18   juices, including juices made by competitors and sold alongside ZICO Coconut
                     19   Water. (ECF 25, Ex. D.) Plaintiff’s theory that 100% coconut water can never be
                     20   labeled “No Sugar Added” because it only “resembles and substitutes” for other
                     21   100% coconut water is wrong, contrary to the regulation and FDA guidance, and
                     22   thus preempted.
                     23            Using a “kitchen-sink” approach, Plaintiff advances numerous confusing
                     24   arguments, often mischaracterizing Defendant’s positions and the FDA’s position
                     25   on comparison product sets, hoping to save his case. These efforts fail because
                     26   there is nothing untrue or misleading about Defendants’ “No Sugar Added” claim
                     27   and the claim fully complies with § 101.60(c)(2)(iv). Moreover, Plaintiff readily
                     28   admits that his alleged violation of § 101.60(c)(2)(i), i.e., his claim “some ZICO
DLA P IPER LLP (US)       EAST\144618735.1                          -1-
    LOS A NG EL ES
                               REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                        FIRST AMENDED COMPLAINT
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 6 of 20 Page ID #:771



                      1   Coconut Water does contain added sugars,” based on vague statements pled on
                      2   information and belief, is deficient.
                      3           Next, Plaintiff has an equally difficult time articulating why his FAL, CLRA,
                      4   and fraud-based UCL claims are adequately pled under Rule 9(b), preferring to cite
                      5   to case law concerning impermissible nutrient content claims on baby food that
                      6   have no application here. Even with the benefit of an Opposition, Plaintiff cannot
                      7   sufficiently allege how a reasonable consumer would be misled by Defendant’s “No
                      8   Sugar Added” claim.
                      9           Third, Plaintiff offers no reasoned explanation why he has statutory standing
                     10   to pursue injunctive relief. Instead, Plaintiff spends several pages of the Opposition
                     11   discussing Article III standing, which is not at issue in this Motion pending the
                     12   Ninth Circuit’s anticipated guidance in Rahman v. Mott’s LLP, USCA No. 15-
                     13   15579. Plaintiff cannot allege any likelihood of future harm sufficient to confer
                     14   statutory standing under the UCL, FAL, or CLRA because he now fully
                     15   understands the “No Sugar Added” claim.
                     16           Finally, Plaintiff’s arguments against a brief stay pending Rahman v. Mott’s
                     17   LLP are unavailing. As Plaintiff’s counsel is well-aware (because they are counsel
                     18   in Mott’s), Mott’s concerns whether injunctive relief is potentially available in a
                     19   case such as this, as well as certification issues regarding damages that would be
                     20   instructive here if Plaintiff’s case proceeds. That the Los Angeles Superior Court
                     21   stayed Reza v. ZICO Beverages LLC pending this case is no reason not to issue a
                     22   brief stay pending Mott’s here.
                     23   II.     PLAINTIFF’S CLAIMS FAIL UNDER RULE 12(b)(6)
                     24           Plaintiff’s FAC fails to allege any violation of either § 101.60(c)(2)(i) or
                     25   § 101.60(c)(2)(iv), which are predicates to each of his consumer claims. Because
                     26   Plaintiff has no private right of action under the FDCA, he must allege violations of
                     27   “California’s Sherman law and consumer protection statutes, which wholly adopt
                     28   the federal requirements.” (FAC, ¶ 2.)
DLA P IPER LLP (US)       EAST\144618735.1                           -2-
    LOS A NG EL ES
                            REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                     FIRST AMENDED COMPLAINT
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 7 of 20 Page ID #:772



                      1           A.    The Opposition Admits Plaintiff’s Claims Based On
                                        § 101.60(c)(2)(i) Are Deficient
                      2
                      3           Plaintiff’s Opposition acknowledges that his FAC includes insufficient facts
                      4   to assert a violation of § 101.60(c)(2)(i), i.e., his claim “some ZICO Coconut Water
                      5   does contain added sugars.” Not surprisingly, the FDA requires no sugar to be
                      6   added for a product to be labeled “No Sugar Added.” See § 101.60(c)(2)(i). In the
                      7   FAC, Plaintiff vaguely alluded to alleged laboratory analyses that “confirmed”
                      8   ZICO Coconut Water contains sugars that are not naturally occurring in coconut
                      9   water. (FAC, ¶ 29.) These assertions were and continue to be wholly unsupported.
                     10   And, indeed, they are contrary to the ZICO Coconut Water label and ingredient
                     11   referenced and incorporated by reference in paragraph 6 of the FAC. Now, Plaintiff
                     12   admits “he could amend to add detail, if necessary” to support his § 101.60(c)(2)(i)
                     13   claim thereby acknowledging that his claims based on the predicate violation of this
                     14   regulatory criterion are deficient as pled.1 (ECF 29, 12:3-13:2.) For this reason
                     15   alone, the Court should grant Defendant’s Motion and dismiss Plaintiff’s
                     16   § 101.60(c)(2)(i) claim.
                     17           B.    The Opposition Cannot and Does Not Cure Plaintiff’s Claims
                                        Based Upon Alleged Violations of § 101.60(c)(2)(iv)
                     18
                     19           Even with the benefit of an Opposition, Plaintiff cannot put forth a reasoned
                     20   argument as to how or why his FAC sufficiently alleges a cognizable violation of
                     21   §101.60(c)(2)(iv).
                     22                 1.     Plaintiff’s Reliance on Rahman v. Mott’s and Park v. Knudson
                                               and Sons Is Misplaced
                     23
                                  First, Plaintiff, citing to Rahman v. Mott’s LLP (Mott’s), No. CV-13-3482 SI,
                     24
                          2014 WL 325241, at *5 (N.D. Cal. Jan. 29, 2014)2 and Park v. Knudson and Sons,
                     25
                          1
                     26     Plaintiff’s improper pleading is not justified by his alleged altruistic motivation
                          regarding allegedly confidential or embarrassing information. Plaintiff could have
                     27   filed his FAC under seal or alleged specific facts, assuming any existed, in a way
                          not to reveal allegedly confidential information.
                          2
                     28     Defendant vehemently disagrees with Plaintiff’s assertion that it has misstated or
DLA P IPER LLP (US)       EAST\144618735.1                           -3-
    LOS A NG EL ES
                              REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                       FIRST AMENDED COMPLAINT
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 8 of 20 Page ID #:773



                      1   Inc. (Park), No. CV-14-7845-DMG (JPRx) (C.D. Cal. Sept. 25, 2015), argues that
                      2   he has sufficiently alleged a violation of § 101.60(c)(2)(iv) because “[t]he notion
                      3   that a fruit juice product cannot utilize a ‘No Added Sugar’ label claim because the
                      4   type of juice does not normally contain added sugars breaks no new legal ground.”
                      5   (ECF 29, 5:13-15.) Plaintiff asserts both Mott’s and Park found the allegation
                      6   “100% Apple Juice does not resemble and substitute for food that normally
                      7   contains added sugar because other brands of apple juice generally do not contain
                      8   added sugar due to the substantial inherent sugar content of apple juice” sufficient
                      9   to state a violation of § 101.60(c)(2)(iv). (ECF 29, 5:17-24.)
                     10         However, neither Mott’s, nor Park (which cites to Mott’s with no
                     11   independent analysis), support Plaintiff’s argument that there is a violation of
                     12   § 101.60(c)(2)(iv) here. Plaintiff’s allegations are not identical to those discussed
                     13   in Mott’s and Park, nor is there any evidence the defendants in Mott’s put forth the
                     14   same evidence regarding how the FDA views “substitute” juice products that
                     15   Defendant has put forth here, discussed in more detail below in Section III. (ECF
                     16   25-1, 15:10-21:2.) Nowhere in the FAC does Plaintiff make the specific allegation
                     17   that “competitor’s brands of 100% coconut water do not contain added sugar due to
                     18   the substantial inherent sugar content of coconut water,” as was precisely alleged in
                     19   Mott’s. 2014 WL 325241, at *5. Nor would it make sense to do so, given apples
                     20   and coconuts have entirely different natural inherent sweetness. Mott’s found these
                     21
                          misrepresented the summary judgment holding in Mott’s. (ECF 29, 2:22-3:6.)
                     22   Defendant quoted the court’s own opinion. Mott’s found that because “the
                     23   allegedly deceptive nature of [Mott’s ‘No Sugar Added’] statement is not self-
                          evident (presumably both parties would agree that ‘No Sugar Added’ is literally
                     24   true, in that it accurately reflects the ingredients used to make Mott’s 100% Apple
                          Juice),” the plaintiff must produce some evidence as to whether a reasonable
                     25   consumer would be misled. The plaintiff could not and the court granted summary
                     26   judgment in favor of Mott’s. Additionally, Defendant denies it mischaracterized
                          Major v. Ocean Spray Cranberries, Inc. Plaintiff actually mischaracterizes
                     27   Defendant’s citation as implying Major stood for the proposition that the “No Sugar
                          Added” label here complies with the regulations. (ECF 29, 3:22-28.) Defendant
                     28   did no such thing.
DLA P IPER LLP (US)       EAST\144618735.1                             -4-
    LOS A NG EL ES
                           REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                    FIRST AMENDED COMPLAINT
              Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 9 of 20 Page ID #:774



                      1   specific allegations significant to its decision denying defendant’s motion to
                      2   dismiss plaintiff’s apple juice claims because it granted defendant’s motion to
                      3   dismiss plaintiff’s apple sauce claims for failure to include them. 2014 WL
                      4   325241, at *5. The plaintiff in Mott’s was never able to resurrect his apple sauce
                      5   claims and the case proceeded solely on his apple juice claims. (ECF 26, Ex. A,
                      6   p. 5.)
                      7            In any event, the sole support for Plaintiff’s Mott’s argument is footnote 4, on
                      8   which Plaintiff is attempting to rely for an overly narrow view of “resemble” and
                      9   “substitute” products. 2014 WL 325241, at *5 n. 4. Mott’s, however, did not make
                     10   any specific rulings regarding the appropriate set of comparison products for apple
                     11   juice or apple sauce (or even juice in general, let alone coconut water). Id. The
                     12   defendant in Park also failed to make the “resembles and substitutes” arguments
                     13   Defendant makes here, backed up with FDA guidance, or make the connection
                     14   between its products containing no added sugar and other similar products
                     15   containing added sugar. See generally Park, No. CV-14-7845-DMG (JPRx). As
                     16   such, neither Mott’s nor Park is instructive on this issue.
                     17                  2.     Plaintiff’s “Plausibly Alleged” Arguments Also Fail
                     18            Plaintiff also makes a series of (often hard to follow) arguments that he has
                     19   sufficiently alleged a violation of § 101.60(c)(2)(iv) because he has “plausibly
                     20   alleged that there is no food that ZICO Coconut Water resembles and substitutes for
                     21   that normally contains added sugars.” (ECF 29:1-3.)
                     22            First, Plaintiff proffers Defendant’s argument that it is “‘implausible’ that
                     23   ‘the only substitute foods for the ZICO Coconut Water’ is ‘pure coconut water
                     24   harvested from a coconut,’” “misses the point, which is that if there is a food which
                     25   ZICO Coconut Water resembles and substitutes for, identifying that food is
                     26   Defendant’s burden since that is its defense to the claim that its label is unlawful.”
                     27   (ECF 29, 7:4-8.) This argument lacks case law or other support. It is not
                     28   Defendant’s “burden” to allege a violation of § 101.60(c)(2)(iv), it is Plaintiff’s
DLA P IPER LLP (US)       EAST\144618735.1                         -5-
    LOS A NG EL ES
                            REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                     FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 10 of 20 Page ID #:775



                      1   burden, which he has failed to carry. Bell Atlantic Corp. v. Twombly, 550 U.S. 544,
                      2   555 (2007). In any event, Defendant did identify multiple foods with added sugar
                      3   ZICO Coconut Water “resembles” and “substitutes” for and requested judicial
                      4   notice of the applicable substitute product labels in conjunction with its Motion.
                      5   (ECF 26, Ex. D.) Plaintiff’s claim that “Defendant fails to even present evidence
                      6   that any of these other products contain added sugar” is belied by the listing of
                      7   “high fructose corn syrup,” “sugar,” “cane sugar” and “beet sugar” listed on the
                      8   product ingredient lists. (ECF 26, Ex. D.) Indeed, Plaintiff even admits in his
                      9   Opposition that other fruit juices may (and often do) contain added sweeteners.
                     10   (ECF 29, 12:24-28.)
                     11         Second, Plaintiff asserts “there is no food that ZICO Coconut Water
                     12   resembles and substitutes for that contains added sugars” and that “this too is a
                     13   plausible allegation” supporting his theory of the case because “100% juices by
                     14   definition do not normally contain added sugars.” (ECF 29, 7:14-16) (emphasis in
                     15   original). Plaintiff cites to 21 C.F.R. § 101.30(b)(3), part of the percentage juice
                     16   declaration which discusses labeling requirements for “100 percent juice . . . also
                     17   contain[ing] non-juice ingredients,” without explanation, as support for this
                     18   argument. (ECF 29, 7:19-25.) This argument again relies, without any support, on
                     19   Plaintiff’s assertion that the only “substitute” foods for 100% juice products like
                     20   ZICO Coconut Water are other 100% juices. Contrary to Plaintiff’s unfounded
                     21   arguments, per the FDA, juices “resemble[] and substitute[]” for other juices. (ECF
                     22   25-1, 15:10-21:2.) Further, Plaintiff’s citation to 21 C.F.R. § 101.30(b) actually
                     23   supports Defendant’s argument that the FDA considers juice as an established,
                     24   broad category of beverages because, as set for in § 101.30(b), the FDA requires
                     25   declaring the percentage of juice in a juice beverage, whether a 100% juice product
                     26   or a lesser percentage juice product.
                     27         Third, relying on another footnote in Mott’s, 2014 WL 325241, n.5, Plaintiff
                     28   implies that Mott’s “rejected” Defendant’s argument that “substitute” foods for
DLA P IPER LLP (US)       EAST\144618735.1                        -6-
    LOS A NG EL ES
                           REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                    FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 11 of 20 Page ID #:776



                      1   juices (including coconut water) include other juices with added sugar. (ECF 29,
                      2   8:12-18.) Mott’s did no such thing. Rather, Mott’s only stated (in a footnote) that
                      3   the defendant in that case “failed to explain how its 100% Apple Juice product
                      4   would qualify as a ‘substitute’ for these juices under the regulations.” 2014 WL
                      5   325241, at *5 n. 5. Contrary to Mott’s, Defendant here has fully explained, with
                      6   guidance from the FDA, that the FDA considers coconut water a juice and juices
                      7   “resemble and substitute for” other juices, including juices with added sugar. (ECF
                      8   25-1, 15:10-21:2.)
                      9   III.    PLAINTIFF’S “RESEMBLE AND SUBSTITUTE” THEORY IS
                     10           PREEMPTED

                     11           Plaintiff makes several convoluted arguments in an attempt to counter
                     12   Defendant’s straightforward argument rooted in the FDA’s regulations that
                     13   Plaintiff’s theory based on § 101.60(c)(2)(iv) is preempted. None are successful.
                     14   The simple facts are thus: Plaintiff’s position that “pure coconut waters harvested
                     15   from a coconut” can never be labeled “No Sugar Added” under § 101.60(c)(2)(iv)
                     16   because they only resemble and substitute for other identical “pure coconut water
                     17   harvested from a coconut” is contrary to FDA guidance.
                     18           A.         Plaintiff’s “Interpretation” of “Resembles” and “Substitute” Has
                     19                      No Support
                                  Plaintiff takes issue with Defendant’s characterization of his interpretation of
                     20
                          “resembles” and “substitutes” as “strained” and supported by “misleading”
                     21
                          quotations. (ECF 29, 10:23-25.) Defendant stands by its characterization of
                     22
                          Plaintiff’s arguments as lacking support, either in the applicable case law or
                     23
                          regulations.
                     24
                                  First, Plaintiff, citing to 58 Fed. Reg. at 2336 (FDA commentary), argues
                     25
                          generally that “no added sugar” claims are “not appropriate to describe foods that
                     26
                          normally contain added sugars . . . e.g., fruit juices.” (ECF 29, 11:1-3.) Plaintiff is
                     27
                          simply wrong on this point. Plaintiff has a basic misunderstanding of this
                     28
DLA P IPER LLP (US)       EAST\144618735.1                            -7-
    LOS A NG EL ES
                            REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                     FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 12 of 20 Page ID #:777



                      1   commentary and the regulations cited therein. Defendant stands by its assertion
                      2   that 58 Fed. Reg. at 2336 is being used by Plaintiff in a misleading way to imply
                      3   that “No Added Sugar” cannot be used on fruit juices. (ECF 25, 18:17-19:8.)
                      4   Nowhere in the Federal Register does it state that fruit juices cannot make “No
                      5   Added Sugar” claims. All that is required to make a “No Added Sugar” claim is
                      6   compliance with § 101.60(c)(2). Moreover, Defendant never stated that the FDA
                      7   was referring to broccoli in 58 Fed. Reg. at 2336, the reference was used as an
                      8   example of common sense.
                      9           Second, Plaintiff brings up Defendant’s reference to § 101.60(c)(3), stating
                     10   that § 101.60(c)(3), “does not govern ‘No Added Sugar’ claims and has no
                     11   application here.” (ECF 29, 11:10-23.) On this point, both parties agree. The only
                     12   reason Defendant even mentioned § 101.60(c)(3) in its moving papers is because
                     13   Plaintiff cited to 58 Fed. Reg. at 2327 in paragraph 47 of the FAC, and 58 Fed. Reg.
                     14   at 2327, in turn, specifically concerns proposed rule § 101.60(c)(3) as support for
                     15   his mislabeling theory. Now Plaintiff admits that it has absolutely nothing to do
                     16   with this case, cannot support his mislabeling theory, and should be disregarded.
                     17           Third, Plaintiff asserts on one hand Defendant’s argument that “nowhere in
                     18   the actual ‘No Sugar Added’ regulation does the FDA say that a ‘No Sugar Added’
                     19   claim is inappropriate for use on juice products” lacks merit because “coconut
                     20   water is a food that does not normally contain added sugars.” (ECF 29, 11:24-
                     21   12:2.) However, on the other hand, Plaintiff admits that the FDA regulates coconut
                     22   water as “juice” and admits that juices can be (and are often) sweetened with added
                     23   sugar. (ECF 29, 12:24-28.) Plaintiff’s argument, not Defendant’s, lacks merit.
                     24           B.         Plaintiff’s Inspection Guide, Statutory Interpretation, and
                                             Exemption Arguments Also Fail
                     25
                                  Recognizing that the FDA Inspection Guide submitted to the Court with
                     26
                          Defendant’s moving papers is powerful evidence that the FDA views comparison
                     27
                          juice products broadly, Plaintiff attempts to downplay the guide’s relevance by
                     28
DLA P IPER LLP (US)       EAST\144618735.1                             -8-
    LOS A NG EL ES
                            REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                     FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 13 of 20 Page ID #:778



                      1   implying it is only used in criminal investigations and is therefore irrelevant. (ECF
                      2   29, 16:12-17:15.) Plaintiff is incorrect. The Inspection Guide, which is
                      3   “attachment 26” (RFJN ISO Reply Ex. I, p. 3), is on a webpage featuring the title
                      4   “Guide to Nutrition Labeling and Education Act (NLEA) Requirements.” (RFJN
                      5   ISO Reply Ex. I, p. 1.) The cover page of the Inspection Guide states: “The
                      6   Following information is provided as assistance for reviewing food labels for
                      7   compliance with new requirements for nutrition labeling and nutrient claims.” (Id.
                      8   at p. 3.) In other words, the Inspection Guide is used by the FDA for guidance
                      9   regarding nutrition labeling and claim requirements, the very claims at issue here,
                     10   and not just in criminal probes. Similar guides are also used by courts when
                     11   analyzing labeling claims in class actions. See, e.g., Peviani v. Hostess Brands,
                     12   Inc., 750 F. Supp. 2d 1111, 1116 (C.D. Cal. 2010) (judicially noticing the FDA’s
                     13   Food Labeling Guide in consumer class action involving “0 grams trans fat” claims
                     14   on baked-goods).3 The Inspection Guide is highly relevant guidance – analysis
                     15   from the FDA itself – that the Court may rely on here.
                     16           Next, Plaintiff argues that “Defendant’s interpretation of [§ 101.60(c)(2)(iv)]
                     17   fails to give effect to the word ‘resembles’ in the regulation” and that the “rules of
                     18   statutory construction” do not permit such an interpretation. (ECF 29, 14:1-15:14.)
                     19   Plaintiff is wrong again.
                     20           Plaintiff’s entire case turns on the interpretation of “resembles” and
                     21   “substitutes” in § 101.60(c)(2)(iv) and “substitute food” in § 101.13(d). Without
                     22   any support, Plaintiff rests his case on an interpretation of “resemble” and
                     23   “substitute” as meaning “identical.” See ECF 29, 4:9-12:2. Plaintiff’s misguided
                     24   interpretation is that the only juice that “pure coconut water from harvest”
                     25   “resembles and for which it substitutes” is other “pure coconut water from harvest.”
                     26
                          3
                     27     This is neither a new argument, nor new case law. Peviani and the Food Labeling
                          Guide were detailed in Defendant’s Request for Judicial Notice submitted with its
                     28   moving papers. (ECF 26, 3:21-4:7.)
DLA P IPER LLP (US)       EAST\144618735.1                        -9-
    LOS A NG EL ES
                              REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                       FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 14 of 20 Page ID #:779



                      1   (ECF 29, 4:16-5:12.) This is not what the plain text of either regulation states, nor
                      2   what the rules of statutory interpretation mandate. As Plaintiff admits, the common
                      3   dictionary definition of “resemble” means “to be like or similar to.” (ECF 29,
                      4   4:24.) “Resemble” does not mean “identical.” Other juices (ECF 26, Ex. D),
                      5   resemble coconut water under this definition. The same goes for “substitute food”
                      6   in § 101.13(d) – nowhere in the definition of “substitute food” does it mandate that
                      7   a “substitute food” be identical to the food it is substituting for. Here, Plaintiff
                      8   disregards the key terms “resemble” and “substitute,” and adds in his own term,
                      9   “identical,” contrary to the rules of statutory construction detailed in the
                     10   Opposition. (ECF 29, 14:1-15:14.)
                     11            Further, the FDA could have used the word “identical” and chose not to do
                     12   so. Another canon of statutory interpretation is that the use of different words or
                     13   terms within a statute demonstrates that the issuing body intended to convey a
                     14   different meaning for those words. See Russello v. United States, 464 U.S. 16, 23
                     15   (1983). The FDA uses the word “identical” in other parts of 21 C.F.R. part 101,
                     16   see, e.g., § 101.9, but did not use it in § 101.60; therefore, “resemble” and
                     17   “substitute” do not (and cannot) mean “identical.”
                     18            Moreover, Defendant never advocated or argued for the position that fruit
                     19   juices are “exempt” from § 101.60(c)(2)(iv). Plaintiff distractingly argues “the
                     20   FDA did not intend to exempt fruit juices from the requirements of [§]
                     21   101.60(c)(2)(iv)” because, citing Fed. Reg. at 2337,4 the FDA “expressly
                     22   considered and rejected a request exempting fruit juice from the regulation. . . .
                     23   because that conduct is misleading” (ECF 29, 15:18-16:8) (emphasis in original).
                     24   Plaintiff (again) misconstrues Defendant’s position – it has nothing to do with
                     25   exemption. Rather, Defendant’s preemption argument is that its “No Sugar Added”
                     26   claim complies with the regulation and Plaintiff seeks to impose requirements
                     27
                          4
                     28       Although Plaintiff cited to 2337, the correct citation is 2327.
DLA P IPER LLP (US)       EAST\144618735.1                           -10-
    LOS A NG EL ES
                              REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                       FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 15 of 20 Page ID #:780



                      1   contrary to what the FDA requires. Further, the commentary in 58 Fed. Reg. at
                      2   2327 never states or finds the use of “No Added Sugar” on fruit juices
                      3   “misleading.” The conduct the commentary discusses is, in fact, the use of “No
                      4   Added Sugar” claims when the product (not even specifically juice products) was
                      5   sweetened with juice concentrate, specifically. Plaintiff misleadingly block quotes
                      6   portions of the commentary in his Opposition, conveniently leaving out the most
                      7   important sentence for context but including the preceding sentence as well as the
                      8   sentence immediately after. (ECF 29, 16:1.) The missing sentence states: “Thus,
                      9   the labeling of a product sweetened with juice concentrate, though it bears a
                     10   factual statement identifying the source of the sweetener, would be misleading if it
                     11   included the statement ‘no added sugar.’” Fed. Reg. at 2327. For example, use of
                     12   a “No Added Sugar” claim on a muffin sweetened with fruit juice may not be
                     13   appropriate. The commentary has no bearing on this case.
                     14           Finally, Plaintiff also argues that his claims are not preempted because he “is
                     15   not attempting to impose requirements different than those imposed by the FDA.”
                     16   (ECF 29, 22:9-10) (emphasis added). Not so, as Plaintiff’s strained interpretation
                     17   of “resembles” and “substitutes” under § 101.60(c)(2) as only permitting identical
                     18   substitute foods imposes requirements on Defendant contrary to those actually
                     19   required by the FDA regulations at issue.
                     20   IV.     PLAINTIFF’S CLAIMS FAIL UNDER RULE 9(b)
                     21           Plaintiff relying exclusively on Bruton v. Gerber Products Company, --- Fed.
                     22   Appx. ---, No. 15-15174, 2017 WL 1396221 (9th Cir. Apr. 19, 2017) makes two
                     23   main arguments as to why two paragraphs of allegations (paragraphs 52 and 53) in
                     24   his 80-plus paragraph FAC are sufficient to comply with Rule 9(b).5 Both fail.
                     25
                     26   5
                            Plaintiff’s claim that “[t]he allegation that the product contains sugar despite its
                     27   label claim alleges deceptive conduct” (ECF 29:1-4) is sufficient to withstand Rule
                          9(b) is without citation to case law or other support and fails for all of the reasons
                     28   detailed in Section [XX] supra and ECF 25-1, 14:3-13.
DLA P IPER LLP (US)       EAST\144618735.1                            -11-
    LOS A NG EL ES
                              REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                       FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 16 of 20 Page ID #:781



                      1         First, citing Bruton, Plaintiff asserts the FAC complies with Rule 9(b)
                      2   because “the Ninth Circuit has held that the facts alleged by Plaintiff raise an
                      3   inference of deceit.” (ECF 29, 19:13-14.) Specifically, Plaintiff asserts “Bruton’s
                      4   theory was that the combination of (a) the presence of the claims on Gerber’s
                      5   products (in violation of FDA regulations), and (b) the lack of claims on
                      6   competitor’s products (in compliance with FDA regulations) made Gerber’s
                      7   labeling likely to mislead the public into believing that Gerber’s products were of a
                      8   higher quality than its competitor’s products.” (ECF 29, 19:14-22.) Plaintiff
                      9   further states he “pleaded the same theory of deception that the Ninth Circuit found
                     10   compelling in Bruton” in paragraph 60 of the FAC. (ECF 29, 20:3-4.) The
                     11   applicable facts and regulations at issue in Bruton, however, make its “theory of
                     12   deception” inapplicable to the facts of this case.
                     13         Bruton involved alleged impermissible nutrient content claims on baby food.
                     14   Bruton, 2017 WL 1396221, at *1. The main issue in Bruton concerned FDA
                     15   regulation 21 C.F.R. § 101.13(b)(3), which provides that “no nutrient content
                     16   claims may be made on food intended specifically for use by infants and children
                     17   less than 2 years of age unless the claim is specifically provided for” by particular
                     18   regulations. Bruton’s theory of deception relies not only on nutrient content claims
                     19   defendant’s competitors allegedly did not make, but that they could not make
                     20   unless they wanted to run afoul of § 101.13(b)(3).
                     21         Unlike the defendant in Bruton, Defendant and its competitors are permitted
                     22   to make “No Added Sugar” claims on their products so long as they comply with
                     23   the requirements of 21 C.F.R. § 101.60(c)(2). Plaintiff’s “theory of deception” is
                     24   not and cannot be the same as in Bruton because use of the claim “No Sugar
                     25   Added” by Defendant and its competitors is permitted under applicable regulations.
                     26   The Opposition acknowledges as much, quoting from Bruton: “Gerber does not
                     27   comply with FDA regulations that otherwise prevent its competitors from making
                     28   the same claim. . . .” (ECF 29, 19:28-20:2.) Based upon the cases filed by
DLA P IPER LLP (US)       EAST\144618735.1                        -12-
    LOS A NG EL ES
                           REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                    FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 17 of 20 Page ID #:782



                      1   Plaintiff’s attorneys since the beginning of 2017, Defendant’s competitors,
                      2   including Naked Juice, make use of “No Added Sugar” claims on a variety of
                      3   coconut water and other juices. (ECF 25-1, 9:3-14.) Bruton offers no support.6
                      4           Second, Plaintiff asserts, citing a footnote in Bruton: “Bruton confirmed that
                      5   violation of the ‘No Sugar Added’ regulation is likely to deceive a reasonable
                      6   consumer,” (ECF 29, 21:9-10) because the nutrition panel under current regulations
                      7   does not “tell the consumer whether any of the sugar in its products was added. . . .”
                      8   (ECF 29, 21:11-17.)
                      9           Plaintiff’s reliance on Bruton is (again) misplaced. The concluding sentence
                     10   in Bruton’s footnote 1 cited by Plaintiff merely confirms certain nutrient content
                     11   claims for products made for children under two are prohibited by 21 C.F.R.
                     12   § 101.13(b)(3). (ECF 29, 11-17.) The same is not true for “No Added Sugar”
                     13   claims under 21 C.F.R. § 101.60(c)(2). Further, “No Added Sugar” claims are also
                     14   required to carry a calorie disclaimer in compliance with § 101.60(c)(2)(v). (FAC,
                     15   ¶¶ 6-7.)
                     16           Plaintiff’s allegations are insufficient under Rule 9(b) and applicable case
                     17   law and should be dismissed. See Viggiano v. Hansen Natural Corp., 944 F. Supp.
                     18   2d 977, 898 n.32 (C.D. Cal. 2013); Trazo v. Nestle USA, Inc., No. 5:12-cv-2272,
                     19   PSG 2013 WL 4083218, at *10 (N.D. Cal. Aug. 9, 2013).
                     20   V.      PLAINTIFF LACKS STATUTORY STANDING
                     21           Curiously, Plaintiff’s Opposition to Defendant’s statutory standing argument
                     22   (based on California law) is devoid of any mention of the Mott’s decision (or any of
                     23   Defendant’s cited authority) finding that, despite the plaintiff’s claims that he
                     24
                          6
                            Similarly without basis is Plaintiff’s argument, citing Bruton, that all he “would
                     25   need to do to survive summary judgment would be to produce evidence of the
                     26   label.” (ECF 29, 21:2-3.) Again, Bruton is inapplicable because Gerber’s
                          competitors could not make similar claims. Using Plaintiff’s own reasoning, mere
                     27   evidence of competitor’s labels with the same “No Sugar Added” labeling as ZICO
                          Coconut Water, would be sufficient to defeat any attempt by Plaintiff to move for
                     28   summary judgment on the “reasonable consumer” issue.
DLA P IPER LLP (US)       EAST\144618735.1                           -13-
    LOS A NG EL ES
                              REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                       FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 18 of 20 Page ID #:783



                      1   “wishes to purchase Mott’s apple juice again[,]” his “attempt to rely on past injury
                      2   to provide statutory standing for injunctive relief (without showing a likelihood of
                      3   future harm) is inconsistent with Prop 64’s prohibition on the ability of individuals
                      4   to file lawsuits ‘on behalf of the public.’” Rahman v. Mott’s LLP, No. CV-13-3482
                      5   SI, 2014 WL 5282106, at *5-6 (N.D. Cal. Oct. 15. 2014). The Court should follow
                      6   Mott’s here and also find no statutory standing.
                      7         Plaintiff does, however, raise Mott’s later when discussing Article III
                      8   standing (ECF 29, 23:23-25:15), an argument not at issue here. Plaintiff argues the
                      9   Court should not dismiss Plaintiff’s injunctive relief claim because another Mott’s
                     10   decision, Rahman v. Mott’s LLP, No. CV-13-3482 SI, 2014 WL 1379655, at 4
                     11   (N.D. Cal. Apr. 8, 2014) “held that plaintiff’s allegation that he intended to
                     12   purchase the product again was sufficient to confer standing.” (ECF 29, 23:27-
                     13   24:2.) The Mott’s motion to dismiss decision cited by Plaintiff on this point,
                     14   however, was superseded by the court’s summary judgment ruling and, moreover,
                     15   does not concern injunctive relief, it only concerns standing with respect to
                     16   economic injury and damages. “Injunctive relief” is not mentioned in the entire
                     17   decision. See generally, 2014 WL 1379655.
                     18         With respect to statutory standing, Plaintiff’s entire argument is based on a
                     19   mischaracterization of In re Tobacco II, 46 Cal. 4th 298, 320 (2009), implying that
                     20   named class representatives do not have to meet all statutory standing requirements
                     21   under Prop 64. (ECF 29, 23:16-22.) In re Tobacco II says the opposite: named
                     22   class representatives must meet all statutory standing requirements in order to
                     23   pursue injunctive relief. 46 Cal. 4th at 315-316 (“the representative plaintiff – is
                     24   required to meet the standing requirements”). Plaintiff himself does not and cannot
                     25   meet these requirements because he can no longer be misled.
                     26   VI.   IN THE ALTERNATIVE, THE COURT SHOULD ISSUE A STAY
                     27         Plaintiff’s main argument against a brief stay pending the Ninth Circuit’s
                     28   resolution of Mott’s is that a case with virtually-identical and overlapping claims,
DLA P IPER LLP (US)       EAST\144618735.1                          -14-
    LOS A NG EL ES
                           REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                    FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 19 of 20 Page ID #:784



                      1   Reza v. Zico Beverages LLC, Los Angeles Superior Court Case No. BC 647064,
                      2   “has already been stayed based on the assumption that this case will proceed.”
                      3   (ECF 29, 25:17-19.) This argument carries no weight.
                      4         First, Reza was stayed on the Court’s own accord; Defendant never filed a
                      5   motion to stay Reza based on this action. See generally No. BC 647064 Docket.
                      6   Second, Defendant here requests only a brief stay pending the outcome of Mott’s,
                      7   which was heard on April 19, 2017. A decision by the Ninth Circuit is expected
                      8   soon. In any event, a brief stay based on Mott’s will serve the judicial economy of
                      9   both Reza and this case as the only major difference between this case and Reza is
                     10   the allegation here that ZICO Coconut Water adds sugar notwithstanding the “No
                     11   Sugar Added” label claim. (See generally RFJN ISO Reply, Ex. J, Reza First
                     12   Amended Complaint.) Moreover, the putative class definition in Reza is subsumed
                     13   by the proposed class in Barrios. (Id. at ¶ 29.)
                     14         Plaintiff also argues that “a stay will not assist judicial economy” because
                     15   “[a]ny opinion in [Mott’s] is unlikely to resolve the central issue in this case –
                     16   whether Defendant’s ‘No Sugar Added’ claims violate the law. . . .” (ECF 29,
                     17   25:19-21.) This argument misses the point.
                     18         Contrary to Plaintiff’s assertions, a stay may be appropriate for a whole host
                     19   of reasons, not just because another case would “resolve the central issue in [this]
                     20   case.” The standard is not whether it would “resolve a central issue” but rather
                     21   whether the stay will “simplify issues” or resolve “questions of law.” Gustavson v.
                     22   Mars, Inc., No. 13–cv–04537–LHK, 2014 WL 6986421, at *2 (N.D. Cal. Dec. 10,
                     23   2014). Here, a stay pending Mott’s would do both as the issues on appeal include:
                     24   (1) whether a consumer lacks standing to pursue injunctive relief once he or she is
                     25   aware of the allegedly misleading or unlawful nature of the label; and (2) whether
                     26   the district court abused its discretion in denying certification of a liability-only
                     27   class because there was no evidence showing predominance as to damages. (ECF
                     28   26, Ex. A, Appellant’s Opening Brief, USCA No. 15-15579, pp. 2-3.) Guidance on
DLA P IPER LLP (US)       EAST\144618735.1                       -15-
    LOS A NG EL ES
                           REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                    FIRST AMENDED COMPLAINT
             Case 2:17-cv-01712-FMO-KS Document 30 Filed 06/15/17 Page 20 of 20 Page ID #:785



                      1   class certification requirements in the context of a virtually-identical case will
                      2   certainly be invaluable and likely simplify class certification here. Similarly,
                      3   although not at issue in this brief, whether a consumer has Article III standing to
                      4   pursue injunctive relief after he or she is aware of the allegedly misleading label
                      5   will resolve a question of law. Accordingly, there is no reason why this case should
                      6   not be briefly stayed pending the Ninth Circuit’s guidance.
                      7   Dated: June 15, 2017                   DLA PIPER LLP (US)
                      8
                      9
                                                                 By: /s/ Jeffrey A. Rosenfeld
                     10                                             JEFFREY A. ROSENFELD
                                                                    RACHEL E.K. LOWE
                     11                                             MONICA D. SCOTT
                                                                    SEAN R. CRAIN
                     12                                             Attorneys for Defendant
                                                                    ZICO BEVERAGES LLC
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
                     28
DLA P IPER LLP (US)       EAST\144618735.1                          -16-
    LOS A NG EL ES
                            REPLY IN SUPPORT OF MOTION TO DISMISS OR, IN THE ALTERNATIVE, STAY PLAINTIFF’S
                                                     FIRST AMENDED COMPLAINT
